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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
In re:                                                         :   Chapter 7
                                                               :   Case No. 21-10699 (DSJ)
Kossoff PLLC,                                                  :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

                ORDER TO SHOW CAUSE (A) SCHEDULING A
       HEARING TO CONSIDER ENTRY OF A CONTEMPT CITATION, THE
    IMPOSITION OF SANCTIONS AND (B) DIRECTING AMERICAN NATIONAL
    LIFE INSURANCE COMPANY OF NEW YORK TO ATTEND SUCH HEARING

                 On May 24, 2021, the Court entered its Order Authorizing Trustee to Issue

Subpoenas and Obtain Testimony for Injunctive Relief [Docket No. 27] (the “Rule 2004 Order”)

and on June 10, 2021, the Court entered its Final Order Granting Injunctive Relief [Docket No.

62]; and Albert Togut, not individually but solely in his capacity as the Chapter 7 Interim

Trustee of the above-captioned debtor (the “Debtor”), issued a subpoena to American National

Life Insurance Company of New York (“American National”) on June 10, 2021 pursuant to the

Rule 2004 Order which required American National to, among other things, produce to the

Trustee documents and communications responsive to the requests contained therein

(collectively, the “Responsive Materials”) by June 21, 2021; and on July 2, 2021, the Trustee

made a written demand to American National for compliance with the Subpoena; and on August

27, 2021 the Trustee filed the Motion for an Order Compelling American National Life

Insurance Company of New York to Comply with Bankruptcy Rule 2004 Order [Docket No.

152]; and on September 10, 2021, the Court entered its Order Compelling American National

Life Insurance Company of New York to Comply with Bankruptcy Rule 2004 Order (the “Order

to Compel”); and counsel for the Trustee having timely served a copy of the Order to Compel
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upon American National, consistent with the terms thereof; and counsel for the Trustee having

represented that they attempted to contact American National twice by telephone following the

service of the Order to Compel and prior to the Trustee’s report to this Court regarding the status

of this matter, without having received any response despite leaving voicemails with information

concerning this matter and the procedural posture of same; and American National having failed

to fully comply with the Order to Compel by September 20, 2021; and the Court having

conducted a status conference concerning the Order to Compel on September 30, 2021 (the

“Status Conference”); and it appearing that the Trustee, by his counsel, attempted to contact

American National by telephone again following the Status Conference, having left a message,

in response to which the Trustee did not receive a response; and based upon the record of the

Status Conference and upon all of the prior pleadings and proceedings had herein; it is hereby

               ORDERED, that American National is directed to appear before the Court on

October 19, 2021 at 10:00 AM (Prevailing Eastern Time) (the “October 19 Hearing”); and it is

further

               ORDERED, that the October 19 Hearing shall take place via Zoom for

Government. Those wishing to appear for before the Court at the October 19 Hearing must

register for appearance utilizing the Electronic Appearance portal located at the Court’s website:

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl. Appearances must be entered no later

than October 18, 2021 at 4:00 PM (Prevailing Eastern Time); and it is further

               ORDERED, that at the October 19 Hearing, the Court will conduct a hearing and

will consider entry of a further order declaring that American National has been in civil contempt

for failure to comply with the Rule 2004 Order and the Subpoena; and it is further




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               ORDERED, that at the October 19 Hearing, the Court will determine the nature

and extent of additional coercive civil sanctions that may be imposed to compel American

National’s compliance with the Rule 2004 Order and the Subpoena; and it is further

               ORDERED, that not later than one (1) business day after the date of entry of this

Order, the Trustee shall serve a copy of this Order by email (where practical) and FedEx upon:

(a) American National Life Insurance Company of New York, 1 Moody Plaza, Galveston, Texas

77550, Attn: President, Officer, General or Managing Agent; (b) the United States Trustee for

the Southern District of New York, 201 Varick Street, Suite 1006, New York, New York 10004-

1408, Attn: Andy Velez-Rivera, Esq. (andy.velez-rivera@usdoj.gov); and (c) all parties that

have filed a notice of appearance in this case.



Dated:   New York, New York
         October 4, 2021
                                                 s/ David S. Jones
                                              HONORABLE DAVID S. JONES
                                              UNITED STATES BANKRUPTCY JUDGE




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